                                                           Case 16-24792-LMI         Doc 69         Filed 04/30/18               Page 1 of 4
                                                                                      FORM 1                                                                                               Page: 1
                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                   ASSET CASES
Case Number:           16-24792 LMI                                                                            Trustee:                          SONEET R. KAPILA, CHAPTER 7 TRUSTEE
Case Name:             Noelia Esther Valdes                                                                    Filed (f) or Converted (c):       11/01/16 (f)
                                                                                                               D0HHWLQJ'DWH             12/07/16
Period Ending: 03/31/18                                                                                        Claims Bar Date:                  05/26/17

                                          1                                     2                             3                            4                  5                        6
                                                                                                     Estimated Net Value                                                          Asset Fully
                                                                             Petition/          (Value Determined By Trustee,           Property          Sale/Funds           Administered (FA)/
                                  Asset Description                        Unscheduled             Less Liens, Exemptions,            Abandoned           Received by           Gross Value of
 Ref #                 (Scheduled And Unscheduled (u) Property)               Values                   and Other Costs)            2$ D$EDQGRQ      the Estate          Remaining Assets

  1      11901 SW 45 St Miami FL 33175                                          905,000.00                                0.00                                          0.00          FA
         EXEMPT
  2      741 SW 98 PL Cir Miami FL 33174                                        272,000.00                                0.00                                          0.00          FA
         EXEMPT
  3      Appliances                                                                 3,000.00                         3,000.00                                      3,000.00           FA

  4      Electronics                                                                3,500.00                         3,500.00                                      3,500.00           FA

  5      Household goods and furnishings                                            2,000.00                         2,000.00                                      2,000.00           FA

  6      Treadmill                                                                   100.00                             100.00                                      100.00            FA

  7      Wearing apparel                                                            2,000.00                              0.00                                          0.00          FA

  8      Furs and jewelry                                                           1,000.00                         1,000.00                                      1,000.00           FA

  9      American Express retirement                                                 700.00                               0.00                                          0.00          FA

  10     FPL                                                                        3,000.00                         3,000.00                                      3,000.00           FA

  11     FPL Real Estate Broker                                                          0.00                             0.00                                          0.00          FA

  12     Child Support                                                               300.00                               0.00                                          0.00          FA

  13     Met Life                                                                        0.00                             0.00                                          0.00          FA

  14     3rd Party Transfer Claims (u)                                                   0.00                       12,400.00                                     12,400.00           FA

TOTALS (Excluding Unknown Values)                                            $1,192,600.00                         $25,000.00                                  $25,000.00                     $0.00
Major activities affecting case closing:
CBD: 5/26/17 - CLAIM OBJECTIONS PENDING
TAX RETURN: FINAL RETURN TO BE FILED

THE TRUSTEE SETTLED WITH THE DEBTOR FOR HER ASSETS OVER EXEMPTIONS. ONCE THE CLAIMS ARE ADJUDICATED, THE TRUSTEE WILL MOVE TO CLOSE THE CASE.

Initial Projected Date of Final Report (TFR): May 01, 2018                                         Current Projected Date of Final Report (TFR): August 31, 2018
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                                                                       Form 2                                                                                                 Page: 1

                                                       Cash Receipts and Disbursements Record
Case Number:           16-24792 LMI                                                              Trustee:                SONEET R. KAPILA, CHAPTER 7 TRUSTEE
Case Name:             Noelia Esther Valdes                                                      Bank Name:              Signature Bank
                                                                                                 Account:                ******5096 - Checking
Taxpayer ID#:          ******7967                                                                Blanket Bond:           $73,967,000.00 (per case limit)
Period:                04/01/17 - 03/31/18                                                       Separate Bond:          N/A

   1            2                       3                                       4                                                 5                    6                  7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements        Checking
  Date      Ref. #           Paid To / Received From                Description of Transaction              Tran. Code            $                    $           Account Balance

05/09/17   Asset #14 CHASE CASHIERS CHECK                 PAYMENT PER ORDER DATED 4/6/17 (DE                1241-000              11,250.00                              11,250.00
                                                          51)
05/09/17               CHASE CASHIERS CHECK               PAYMENT PER ORDER DATED 4/6/17 (DE                                       1,250.00                              12,500.00
                                                          51)
05/09/17   Asset #14                                      PAYMENT PER ORDER                       1,150.00 1241-000                                                      12,500.00
                                                          DATED 4/6/17 (DE 51)
05/09/17   Asset #6                                                                                 100.00 1129-000                                                      12,500.00

05/31/17               Signature Bank                     Bank and Technology Services Fee                  2600-000                                       16.95         12,483.05
06/09/17   Asset #3    CHASE CASHIERS CHECK               PAYMENT PER ORDER DATED 4/6/17 (DE                1129-000               1,250.00                              13,733.05
                                                          51)
06/30/17               Signature Bank                     Bank and Technology Services Fee                  2600-000                                       24.70         13,708.35
07/14/17   Asset #10 CHASE CASHIERS CHECK                 PAYMENT PER ORDER DATED 4/6/17 (DE                1129-000               1,250.00                              14,958.35
                                                          51)
07/31/17               Signature Bank                     Bank and Technology Services Fee                  2600-000                                       25.66         14,932.69
08/03/17   Asset #10 CHASE CASHIERS CHECK                 PAYMENT PER ORDER DATED 4/6/17 (DE                1129-000               1,250.00                              16,182.69
                                                          51)
08/31/17               Signature Bank                     Bank and Technology Services Fee                  2600-000                                       32.46         16,150.23
09/06/17               CHASE CASHIER'S CHECK              PAYMENT PER ORDER DATED 4/6/17 (DE                                       1,250.00                              17,400.23
                                                          51)
09/06/17   Asset #10                                      PAYMENT PER ORDER                         500.00 1129-000                                                      17,400.23
                                                          DATED 4/6/17 (DE 51)
09/06/17   Asset #5                                                                                 750.00 1129-000                                                      17,400.23

09/29/17               Signature Bank                     Bank and Technology Services Fee                  2600-000                                       30.64         17,369.59
10/09/17   Asset #5    CHASE CASHIERS CHECK               PAYMENT PER ORDER DATED 4/6/17 (DE                1129-000               1,250.00                              18,619.59
                                                          51)
10/31/17               Signature Bank                     Bank and Technology Services Fee                  2600-000                                       35.88         18,583.71
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                                                                      Form 2                                                                                                 Page: 2

                                                      Cash Receipts and Disbursements Record
Case Number:          16-24792 LMI                                                              Trustee:                SONEET R. KAPILA, CHAPTER 7 TRUSTEE
Case Name:            Noelia Esther Valdes                                                      Bank Name:              Signature Bank
                                                                                                Account:                ******5096 - Checking
Taxpayer ID#:         ******7967                                                                Blanket Bond:           $73,967,000.00 (per case limit)
Period:               04/01/17 - 03/31/18                                                       Separate Bond:          N/A

   1            2                      3                                       4                                                 5                    6                  7

 Trans.    Check or                                                                                         Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                    $           Account Balance

11/15/17   Asset #3   CHASE CASHIERS CHECK               PAYMENT PER ORDER DATED 4/6/17 (DE                1129-000               1,250.00                              19,833.71
                                                         51)
11/30/17              Signature Bank                     Bank and Technology Services Fee                  2600-000                                       35.52         19,798.19
12/04/17   Asset #4   CHASE CASHIERS CHECK               PAYMENT PER ORDER DATED 4/6/17 (DE                1129-000               1,250.00                              21,048.19
                                                         51)
12/29/17              Signature Bank                     Bank and Technology Services Fee                  2600-000                                       37.32         21,010.87
01/08/18              CHASE CASHIERS CHECK               PAYMENT PER ORDER DATED 4/6/17 (DE                                       1,250.00                              22,260.87
                                                         51)
01/08/18   Asset #3                                      PAYMENT PER ORDER                         500.00 1129-000                                                      22,260.87
                                                         DATED 4/6/17 (DE 51)
01/08/18   Asset #4                                                                                750.00 1129-000                                                      22,260.87

01/31/18              Signature Bank                     Bank and Technology Services Fee                  2600-000                                       44.51         22,216.36
02/09/18   Asset #4   CHASE CASHIERS CHECK               PAYMENT PER ORDER DATED 4/6/17 (DE                1129-000               1,250.00                              23,466.36
                      NOELIA E VALDES REMITTER           51)
02/28/18              Signature Bank                     Bank and Technology Services Fee                  2600-000                                       39.81         23,426.55
03/15/18              CHASE CASHIERS CHECK -             PAYMENT PER ORDER DATED 4/6/17 (DE                                       1,250.00                              24,676.55
                      REMITTER NOELIA E VALDES           51)
03/15/18   Asset #8                                      PAYMENT PER ORDER                       1,000.00 1129-000                                                      24,676.55
                                                         DATED 4/6/17 (DE 51)
03/15/18   Asset #4                                                                                250.00 1129-000                                                      24,676.55
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                                                                        Form 2                                                                                                    Page: 3

                                                        Cash Receipts and Disbursements Record
Case Number:          16-24792 LMI                                                                 Trustee:                SONEET R. KAPILA, CHAPTER 7 TRUSTEE
Case Name:            Noelia Esther Valdes                                                         Bank Name:              Signature Bank
                                                                                                   Account:                ******5096 - Checking
Taxpayer ID#:         ******7967                                                                   Blanket Bond:           $73,967,000.00 (per case limit)
Period:               04/01/17 - 03/31/18                                                          Separate Bond:          N/A

   1            2                      3                                          4                                                 5                    6                    7

 Trans.    Check or                                                                                            Uniform           Receipts          Disbursements          Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                    $             Account Balance

03/30/18              Signature Bank                        Bank and Technology Services Fee                  2600-000                                         44.40         24,632.15

                                                                                 ACCOUNT TOTALS                                     25,000.00                 367.85        $24,632.15
                                                                                    Less: Bank Transfers                                 0.00                   0.00

                                                                                 Subtotal                                           25,000.00                 367.85
                                                                                    Less: Payment to Debtors                                                    0.00

                                                                                 NET Receipts / Disbursements                     $25,000.00                 $367.85


                       Net Receipts:                  $25,000.00                                                                      Net            Net                     Account
                                                                                      TOTAL - ALL ACCOUNTS                          Receipts    Disbursements                Balances
                         Net Estate:                  $25,000.00
                                                                                      Checking # ******5096                         25,000.00                 367.85         24,632.15
                                                                                                                                  $25,000.00                 $367.85        $24,632.15
